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|N THE UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN D|STR|CT OF FLOR|DA

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cAsENo. 96- 7214:
ToM cHERNoFF and _ -
v(\:/(::)Toiz;i<;::i<, lNc., a F|orida c;v_ [ENARD

Plaintiffs

 

MA.
VS~ oxG§g§§§`FR§’DGE
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NAT|ONAL SAFETY ASSOC|ATES, |NC., "“G \:\\.E°
a Tennessee corporation wm 2 z liqu
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CCMPLA|NT AND DEMAND FOR JURY TR|AL

P|aintiffs, Tom Chernoff and Whiterock, lnc. (col|ective|y referred to as “Plaintiffs”),
through their undersigned counse|, sue Defendant, Nationa| Safety Associates, |nc.
(hereinafter “NSA”) and alleges:

GENERAL ALLEGAT|ONS COMMON TO ALL COUNTS

1. Plaintiff, Tom Chernoff, is a citizen of the State of F|orida and P|aintiff,
Whiterock lnc., is a corporation incorporated under the laws of the State of F|orida having its
principal place of business in the State of F|orida. Defendant, NSA, is a corporation
incorporated under the laws of the State of Tennessee having its principal place of business
in a State other than the State of F|orida. The matter in controversy exceeds, exclusive of
interest and costs, the sum of fifty thousand dollars ($50,000.00).

2. At all times material hereto, Plaintiff, Tom Chernoff, is an individual over the age

of eighteen and was a resident of Broward County, F|orida.

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3. At all times material hereto, Whiterock |nc. was a F|orida corporation with its
principal place of business in Broward County, F|orida.

4. At all times material hereto, NSA was a Tennessee corporation with its principal
place of business in Tennessee.

5. At all times material hereto, NSA was engaged in substantial and not isolated
activity in F|orida, therefore subjecting itself to the jurisdiction of the F|orida courts under F|a.
Stat. § 48.193 (2). That activity included the shipment of products into F|orida, entering into
contracts in F|orida, making payments to distributors and collecting monies in F|orida.

6. Alternative|y, NSA operated, conducted, engaged in, or carried on a business
or business venture in F|orida and/or breached a contract in F|orida, therefore subjecting itself
to jurisdiction in F|orida under F|a. Stat. § 48.193 (1)(a) and (g).

7. Plaintiffs have retained the law firm of U|lman & U|lman, P.A. to represent them
in connection with this action and have agreed to pay U|lman & U|lman, P.A. for its services.

8. Tom Chernoff and Whiterock lnc. have performed any necessary conditions
precedent, or the same have occurred, been waived, or been excused.

9. Plaintiffs demand trial by jury on all issues so triab|e.

COUNT 1
Breach of Contract
10. NSA distributes air and water filtration systems and other products.
11. NSA developed a marketing program for the distribution of NSA products. The

system is a multi-level marketing program developed to facilitate and promote the sale of its

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products through what are referred to as independent dealers/distributors
(“deaier/distributors”).

12. in 1989, NSA organized National Safety Associates lnternational, inc. (“NSA
|nternationa|”) as its subsidiary.

13. in 1990, NSA transferred the shares of NSA international to its individual
shareholders and NSA international became an ainiate of NSA.

14. NSA international manufactures air and water infiltration systems and other
products.

15. NSA international distributes those products through its direct selling
subsidiaries, National Safety Associates, Ltd., a Canadian corporation, National Safety
Associates of America (U.K.) Limited, a United Kingdom corporation, NSA GmbH Oko Fi|ter
Systeme, a German corporation, and NSA international de Mexico, S.A. de C.V., a Mexican
corporation (“Direct Sel|ing subsidiaries").

16. NSA international also sells products to NSA which are distributed by NSA
throughout the United States.

17. At ali times material hereto, NSA international and the Direct selling
subsidiaries utilized the multi-ievei marketing program developed by NSA for distribution of
NSA and NSA international products.

18. At ali times material hereto, pursuant to a written management agreement, NSA
provided management, consulting and advisory services to NSA international and its Direct

selling subsidiaries relating to accounting, data processing, legal and regulatory compiiance,

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general management, administration of benefits, contract and lease negotiations and other
such matters for which NSA international and/or its Direct selling subsidiaries requested
assistance

19. At ali times material hereto, in the central computer system at NSA’S Memphis
office, NSA maintained information regarding ali dealers/distributors for NSA, NSA
international and its Direct selling subsidiaries, product orders placed by ali
dealer/distributors, and commissions, performance bonuses and/or rebates paid and payable
to ali dealers/distributors

20. At ali times material hereto, NSA also utilized NSA’S computer system to
monitor compliance with the Ruies regarding changes of sponsorship for ali NSA’s, NSA
internationai’s and the Direct selling subsidiaries’ dealers/distributors

21. Plaintiff Tom Chernoff and /or Whiterock, inc. and NSA entered into a binding
written contract on or about August, 1987.1 A form of the contract entered into is attached
hereto as Exhibit “,"A since the actual contract signed by one or both of the parties is in the
exclusive possession of NSA,

22. The contract was renewed according to its terms each year thereafter until

1994. The applications for renewal are also in the exclusive possession of NSA,

 

lPlaintiffs do not recall whether the contract was entered into in the corporate name or by Tom Chernoff
in his individual capacity and have therefore alleged the Plaintiffs in the alternative Upon receipt of a copy of
the contract, Plaintiffs may dismiss the Plaintiff who was not a party to the contract if Plaintiffs determine that the
Plaintiff not named in the contract is an unnecessary party to this iitigation.

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23. Pursuant to the contract, Tom Chernoff and /or Whiterock, inc. became an
independent dealer/distributor for NSA.

24. incorporated in the terms of Plaintiffs’ contract with NSA and each renewal
thereof were NSA’s Ruies for operation of an NSA dealership. A copy of the applicable Ruies
(rev. 12/90) is attached hereto as Exhibit “.”B Plaintiff does not have a copy of the Ruies in
effect in 1987, which are in the exclusive possession of NSA.

25. Paragraph 13 of the Ruies provided, among other things, that “Deaiers who
wish to change sponsors must wait at least twelve (12) months after resigning before doing
so.”

26. Paragraph 16 of the Ruies provided that “No individual Deaier may have an
ownership interest in, operational or management control of, or derive any benefit directly
or indirectly from, any second or subsequent NSA Deaiership not in the same line of
sponsorship as the individual’s initial NSA business.”

27. The Ruies also allowed for international sponsorship of dealers/distributors
provided that “dealers[/distributors] only [sponsor other dealers/distributors] in countries in
which NSA has registered to operate its business and must fully comply with the Ruies for
Operation of an NSA Deaiership in that country.” Ruies of Operation at 1115.

28. The referenced Ruies were incorporated into every dealer/distributor contract
entered into by NSA , NSA international and/or the Direct selling subsidiaries, regardless of

the jurisdiction where the dealer/distributor contract was entered into.

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national marketing director - each of which had specific criteria to be met and bonuses,
commissions, rebates and benefits which accompanied the level achieved.

33. At ali times material hereto, a dealer/distributor’s entitlement to commissions,
performance bonuses, rebates and/or other benefits and payments was determined monthly
and depended upon performance criteria being met, among other things.

34. NSA distributed said commissions, performance bonuses, and/or rebates on
a monthly basis utilizing information from the central computer maintained iri the i\/iemphis,
Tennessee office regarding orders placed by ali dealers/distributors for NSA, NSA
international and the Direct selling subsidiaries

35. The performance criteria upon which a dealer/distributors entitlement to
commissions, performance bonuses, rebates and/or other benefits and payments was
determined was set forth in the Marketing Plan.

36. The Marketing Pian was also incorporated into each contract.

37. inclusion of the Ruies and the Marketing Pian in the NSA contracts created a
contractual obligation upon NSA to enforce their terms and prohibit any changes of
sponsorship not in compliance with the Ruies.

38. On November 4, 1990, Marcia Nish entered into a contract with National Safety
Associates, Ltd. and became a sponsored dealer/distributor in Plaintiffs’ “downiine.” A copy
of her sponsorship application is attached hereto as Exhibit “C.”

39. As a direct result of this contract and operation of the Marketing pian, ali those

in Ms. Nish’s “upiine,” including Plaintiffs, became entitied, or potentially entitied, to

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29. At ali times material hereto, through NSA’S marketing program, dealers/
distributors could sponsor others to become dealers/distributors NSA permitted sponsorship
within any geographic area where an NSA company did business, regardless of where the
sponsoring dealer/distributor was iocated.

30. When NSA accepted an application of a new dealer/distributor, the new
dealer/distributor became part of the “downiine” of the sponsoring dealer/distributor and was
entitled to purchase NSA products at wholesale prices for sale to the public and to sponsor
new dealer/distributors

31. Existing dealers/distributors benefitted from the sponsorship of new
dealers/distributors in that the sponsoring dealer/distributor received a percentage
commission on the products purchased for resale by those personally-sponsored individuais,
as weil as a percentage commission on the products purchased by those dealers/distributors
brought iri by those personally sponsored.

32. Subject to meeting established sales quotas, voiumes, time parameters and/or
performance leveis, a dealer/distributor could receive:

a) commissions on sale of the products the dealer/distributor has soid;

b) commissions, performance rebates and/or rebates on sales orders placed
by dealer/distributors in the “downiine;”

c) other bonuses and/or benefits; and/or

d) promotion to a higher level of dealer/distributor, including direct distributor,

senior direct distributor, sale coordinator, qualifying national marketing director and/or

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commissions, performance bonuses and/or rebates based upon Ms. Nish’s purchase of
products, as weil as those of others in her “downiine.”

40. Ms. Nish’s contract contained the same provisions regarding change of
sponsorship and ownership or benefit from other NSA dealerships as contained iri the
Plaintiffs’ contract.

41. On or about October 23, 1991, Ms. Nish was permitted to transfer to a new
sponsor without first resigning and waiting out the twelve month period as required by the
Ruies. A copy of Ms. Nish’s new sponsorship application is attached hereto as Exhibit ‘D.

42. Prior to the change in her sponsorship, Ms. Nish was an active participant in
Plaintiffs’ “downiine” and was placing orders through which those in her “upiine,”
including Plaintiffs, received a benefit.

43. Plaintiffs had an interest in Ms. Nish’s continued sales and success in the NSA
program.

44. NSA was aware of Ms. Nish’s change of sponsorship and did nothing to prevent
said change.

45. Moreover, NSA stopped compensating Plaintiffs for commissions, performance
bonuses and/or rebates to which they were entitled as a result of the purchase of products
by Ms. Nish and those in her “downiine.”

46. NSA’S failure to prevent the change and/or enforce the Ruies and/or to
compensate Plaintiffs for commissions, performance bonuses and/or rebates lo which they

were entitled constituted one or more breaches of the contract between NSA and Plaintiffs.

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47. As a result of the breach by NSA, Plaintiffs suffered damages, including but not
limited to the loss of revenues from the purchase of products by Ms. Nish and those in her
“downiine.”

48. The Ruies incorporated into the contract provided that “[i]n the event of a
breach of these ruies,...[e]ach Deaier must indemnify, defend and hold NSA and its ainiates
harmless against any ciaims, costs and iiabiiity...inciuding payment of reasonable attorneys’
fees incurred by NSA."

49. Pursuant to Fia Stat. §57.105 (2), if Plaintiffs are the prevailing party herein,
they would be entitled to receive an award of attorneys’ fees.

WHEREFORE, Plaintiffs, Tom Chernoff and/or Whiterock inc., demand
judgment for damages against Defendant NSA, together with interest , costs, and attorney’s
fees.

COUNT 2
Breach of Contract

50. Plaintiffs realiege and reaver paragraphs 1 through 9 and 21 through 24 as if
fully set forth herein.

51. The Ruies, incorporated into Plaintiffs’ contract, established criteria for the
manner in which dealers/distributors could conduct their NSA business. Those Ruies
provided, inter alia, as foilows:

a) Deaiers/distributors will at all times conduct themselves and their businesses

in an ethicai, moral, legal and financially sound manner, and will not engage in any activities

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which would bring disrepute on the good name or image of NSA, its products or other
dealers/distributors 112 of the Ruies;

b) Deaiers/distributors may only use current NSA literature and may not use
privately produced iiterature. 1111 a of the Ruies;

c) Deaiers/distributors may not make any representations that are not entirely
within the claims set forth in NSA’s iiterature; 1111b of the Ruies;

d) NSA will not approve the use of its logo in any broadcast, newspaper,
magazine or similar media advertising. 1111c of the Ruies;

e) Any income representations made must be factual and may not imply that
the level or amount of income is easy to achieve; 1111d of the Ruies;

f) Aii representations must comply with applicable law; 1111e of the Ruies;.
and

g) When describing the NSA program, dealers/distributors must present the
program in its entirety with material omissions, distortions or misrepresentations .1111i of the
Ruies.

52. The Ruies further provided that “[i]n the event of any breach of the rules, NSA
shall have the right to terminate the breaching Deaier’s [/distributor’s] Deaiership...” 1112 of
the Ruies.

53. The Ruies did not prohibit dealers/distributors from pursuing other business

opportunities

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54. On or about October 2, 1994, NSA terminated Plaintiffs’ distributorship
purportedly based upon its belief that Plaintiffs were “soiiciting NSA distributors, both directly
and indirectiy, “ into a new venture. A copy of the letter of termination is attached hereto as
Exhibit “"E.

55. At no time prior to the termination had Plaintiffs violated any of the established
Ruies for an NSA dealership.

56. NSA breached its contract with Plaintiffs as a result of its wrongful termination
of the Plaintiffs’ distributorship

57. As a result of NSA’s breach, Plaintiffs have suffered damages, including loss
of revenue from their own saies, as weil as commissions, performance bonuses and/or
rebates from the purchase of products by others in their “downiine.”

58. The Ruies incorporated into the contract provides that “[i]n the event of a breach
of these ruies,...[e]ach Deaier must indemnify, defend and hold NSA and its affiliates
harmless against any claims, costs and iiabiiity...inciuding payment of reasonable attorneys’
fees incurred by NSA.”

59. Pursuant to Fia Stat. §57.105 (2), if Plaintiffs are the prevailing party herein,
they would be entitled to receive an award of attorneys’ fees.

WHEREFORE, Plaintiffs, Tom Chernoff and/or Whiterock inc., demand
judgment for damages against Defendant NSA, together with interest, costs, and attorney’s

fees.

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COUNT 3
Action for Accounting

60. Plaintiffs readopt and realiege the allegations contained in paragraph 1 through
9, 21 through 24 and 29 through 36 as if fully set forth herein.

61. As a result of the contract between Plaintiffs and NSA, which incorporated by
reference the Ruies of operation of an NSA Deaiership and the Marketing P|an, Plaintiffs
were entitled to receive a percentage commission on the products purchased for resale by
the dealers/distributors that the Plaintiffs sponsored as weil as a percentage commission on
the products purchased by dealers/distributors in the Plaintiffs’ “downiine.”

62. Plaintiffs’ entitlement to commissions’, performance bonuses, rebates and/or
other benefits and payments was determined monthly and depended upon performance
criteria being met.

63. NSA distributed said commissions, performance bonuses, and/or rebates on
a monthly basis utilizing information from the central computer maintained in the Memphis,
Tennessee oche regarding orders placed by ali dealers/distributors for NSA, NSA
international and the Direct selling subsidiaries

64. As of October, 1991, NSA has wrongfully failed and refused to distribute said
commissions, performance bonuses and/or rebates based upon the purchase of products by
Ms. Nish and those in her “downiine” and has failed to give Plaintiffs an accurate accounting
of the commissions, performance bonuses and/or rebates that Plaintiffs earned as a result

of that “downiine.”

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65. NSA has also wrongfully failed and refused to distribute commissions,
performance bonuses and/or rebates to Plaintiffs as a result of the activities of those in their
“downiine” as of October, 1994 and has failed to give Plaintiffs an accurate accounting of the
commissions, performance bonuses and/or rebates that Plaintiffs earned as a result of that
“downiine.”

66. Because the commissions, performance bonuses and/or rebates are
determined on a monthly basis and are based upon information solely within the possession
of NSA, Plaintiffs are unable to approximate the amount of products purchased for resale by
the dealers/distributors in Plaintiffs’ “downiine” and/or the sum of money that NSA presently
owes Plaintiffs

67. Plaintiffs have been unable to obtain a definite and final list of the commissions,
performance bonuses and/or rebates to which it is entitled. The subject transactions are of
such an extensive, voluminous nature that they become extremely compiicated, to the extent
that the Plaintiffs are entitled to a full and complete accounting.

68. Because of the number of transactions, both known and unknown, that are in
dispute, the time period over which they occurred and Plaintiffs’ lack of adequate written
records of the transactions, Plaintiffs’ remedy at law is inadequate and will not be as
expeditious as it is in equity.

WHEREFORE, Plaintiffs, Tom Chernoff and/or Whiterock inc., demand an accounting

and thereafter the entry of a final judgment against the Defendant, NSA, for damages for ali

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sums that the accounting reveals are due, owing and unpaid, and for such other and further
relief as this court deems appropriate, including costs and attorneys’ fees.

COUNT 4

Action for Deciaratoi_'y Reiief
(Continuity of Downiine)

69. Plaintiffs realiege and reaver paragraphs 1 through 9 and 21 through 36 as if
fully set forth herein.

70. This is an action for deciaratoryjudgment pursuant to 28 U.S.C. §§2201 and
2202.

71. A controversy has arisen between the Plaintiffs and NSA as a result of which
Plaintiffs are in doubt as to their rights and status under the contract entered into in August
1987 and renewed thereafter until 1994.

72. The controversy arises over the Ruie contained in NSA Ruies for operation of
an NSA dealership that requires that “Deaiers[/distributors] who wish to change sponsors
must wait at least twelve (12) months after resigning before doing so.”

73. The contract and related documents did not define the effect of a
dealer/distributor’s resignation upon its “downiine” at the time of its resignation.

74. The contract and related documents did not define the effect of a
dealer/distributor’s resignation on its “downiine” during the one year period during which the

resigning dealer/distributor must remain inactive.

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75. The contract and related documents did not define the effect on the “downiine”
of a dealer/distributor who waited out the required twelve (12) month period before changing
sponsors

76. Because the Marketing Pian implemented by NSA provided that
dealers/distributors benefit from the activities of those in their “downiine,” Plaintiffs contend
that the resignation and/or change of sponsorship of a remaining dealer/distributor in their
“downiine” should have no impact on those dealer/distributors sponsored by the resigning
dealer/distributor and/or any others in the “downiine.”

WHEREFORE, Plaintiffs, Tom Chernoff and/or Whiterock inc., pray that this court:

a. Enter an order declaring that the contract and related documents require
that the resignation and/or change of sponsorship of a dealer/distributor in Plaintiffs’
“downiine” does not have the effect of transferring the remaining dealers/distributors from
Plaintist downiine; and

b. To enter an order providing for such other and further relief that this court
deems just and proper.

COUNT 5

Deciaratoi_'y relief
(NSA’S Duties to Enforce Ruies of Operationi

77. Plaintiff realiege and reaver paragraphs 1 through 9 and 21 through 46 as if
fully set forth herein.

78. This is an action for declaratory relief pursuant to 28 U.S.C. § §2201 and 2202.

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79. A controversy has arisen between Plaintiffs and NSA as a result of which
Plaintiffs are in doubt as to their rights and status under the contract entered into with NSA.

80. The controversy arose after Marsha Nish, an NSA dealer/distributor, was
allowed to change sponsors without waiting out the requisite twelve (12) month period set
forth in NSA’S Ruies of operation.

81. NSA has asserted that because Marsha Nish’s dealer/distributor contract was
with an NSA affiliate and not NSA that it did not have an obligation and/or duty to Plaintiffs
to prevent Ms. Nish’s transfer and/or to enforce the Ruies regarding the twelve (12) month
waiting period before a transfer or change of sponsorship could take piace.

82. NSA’s asserted position with regard to Ms. Nish’s change of sponsorship is
contrary to the position that it has asserted other instances

83. Moreover, NSA had the sole responsibility for maintaining computer records
regarding upiines and downiines and the identities of dealers/distributors for ali NSA
companies

84. Further, NSA assumed the responsibility for ensuring compliance with the Ruies
restricting changes of sponsorship for ali dealers/distributors for ali NSA companies

WHEREFORE, the Plaintiffs, Tom Chernoff and/or Whiterock inc., pray that this court1

a. Entering an order declaring that NSA is obligated to require compliance
with the Ruies of operation by ali dealers/distributors for ali the NSA companies regardless

of whether or not the dealer/distributor has directly contracted with NSA;

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b. Enter an order declaring that NSA breached its contractual obligation to
Plaintiff by failing to require compliance by Marsh Nish, NSA international and/or National
Safety Associates Ltd. with the Ruies for operation of an NSA dealership; and

c. Enter an order providing for such other and further relief as this court
deems just and proper.

ULLMAN & ULLMAN, P.A.
Attorneys for Tom Chernoff
and Whiterock inc.

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ADDITIONAL

ATTACHMENTS

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SCANNED

PLEASE REFER TC) COURT Fj

 

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Tom Chernoff and National Safety Associates, Inc.

 

 

 

 

 

   
   
          
   
 

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Defendant

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lV.CAUSEOFACTiON(m,,..ummmmw,m“ mm‘ -
°°'°’°“”"°°“°"*““~"=wm 28 USC Section 1332, Breach of contractf action
for accounting and declaratory relief pursuant to 28 USC Section 2201 & 2202

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IVa. 8_]0 days estimated (for both sides) to cry entire case.
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